                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


 COLONIAL PIPELINE COMPANY,

        Plaintiff,                                 Case No. 3:20-cv-00666

 v.                                                Judge William L. Campbell, Jr.
                                                   Magistrate Judge Alistair E. Newbern
 METROPOLITAN NASHVILLE AIRPORT
 AUTHORITY, et al.,

        Defendants.


                                           ORDER

       Plaintiff Colonial Pipeline Co. has submitted a number of documents for the Magistrate

Judge’s in camera review to determine if its claim of attorney-client or work-product privilege

over those documents was properly asserted. The Magistrate Judge has reviewed all of the

submitted documents and finds that they are properly withheld from production as privileged or

have been appropriately redacted for production.

       It is so ORDERED.



                                                     ____________________________________
                                                     ALISTAIR E. NEWBERN
                                                     United States Magistrate Judge




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